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                         EXHIBIT B
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   From: Joshua Libling
   Sent: Tuesday, July 10, 2018 12:16 PM
   To: 'Obermeier, Stephen'
   Cc: Lee Wolosky; Amy Neuhardt
   Subject: RE: Application to Continue Stonington's Motion to Dismiss Hearing
    
   Steve,
    
   We do not believe that waiting three weeks to file an application for a continuance is consistent with
   the Court’s desire to receive continuance requests promptly given that all of the facts regarding
   Plaintiffs’ unavailability are known now. Nor do we believe that the July 30 date is germane—either
   the Court will grant a stay of discovery, or the Court will decline to grant a stay, in which case the
   Court will have rejected your position that discovery is improper. Either way, there is no reason why
   a continuance could not be granted.
    
   Joshua
    
    
   Joshua J. Libling
   Counsel
    




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   jlibling@bsfllp.com
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   From: Obermeier, Stephen [mailto:SObermeier@wileyrein.com]
   Sent: Monday, July 9, 2018 5:27 PM
   To: Joshua Libling
   Cc: Lee Wolosky; Amy Neuhardt
   Subject: Application to Continue Stonington's Motion to Dismiss Hearing
Case 2:18-cv-02421-JFW-E Document 140-3 Filed 07/10/18 Page 3 of 3 Page ID #:2663


    
   Joshua,
    
   I am writing to follow up on the telephone conversation we just had regarding Plaintiffs’ intention to
   file an application to continue the hearing on Stonington’s motion to dismiss now that the motion
   has been filed.
    
   As I said on the call, my intention in my email to Amy on this issue was to try to avoid a dispute on
   the hearing date by waiting to see what happens during the hearings scheduled for July 30.  I
   sincerely want to work with Lee and avoid going to the Court, if possible.  However, if you insist on
   filing now, we’ll have no choice but to file an opposition.
    
   While I understand your reading of Judge Walter’s order, I do not think it applies—particularly from
   a judicial efficiency standpoint—in this situation, where waiting a few weeks could result in the
   potential to resolve our dispute without disturbing the court.
    
   I hope that you will reconsider your position and wait until July 30 to see if we can resolve this issue
   amicably.
    
   Thank you,
    
   Steve 
    
   Stephen J. Obermeier | Attorney at Law
   Wiley Rein LLP
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